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			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
	 	


	
		

					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							July 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							DeRego v. Isemoto Contracting Company, Ltd. (Order Granting Motion to Dismiss Appeal).

							Labor and Industrial Relations Appeals Board
							
						
												
							July 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Ruben (Order of Correction). ICA&nbsp;mem. op., filed 06/21/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							July 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							HL v. NSL (s.d.o., affirmed). Consolidated with Case No. CAAP-XX-XXXXXXX.

							Family Court, 1st Circuit
							
						
												
							July 9, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							In re B Children (Order Rejecting Application for&nbsp;Writ of Certiorari). ICA&nbsp;s.d.o., filed 04/10/2019 [ada],&nbsp;144 Haw. 154. Application for&nbsp;Writ of Certiorari, filed 05/17/2019.

							Family Court, 1st Circuit
							
						
												
							July 9, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Phillips (Order Accepting Application for&nbsp;Writ of Certiorari). ICA&nbsp;s.d.o., filed 02/15/2019 [ada], 144 Haw. 61.&nbsp;Application for&nbsp;Writ of Certiorari, filed 05/28/2019.

							District Court, 3rd Circuit, Kona Division
							
						
												
							July 9, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Nicol (Amended Order Rejecting Application for Writ of Certiorari).&nbsp;ICA Order Dismissing the Appeal for Lack of Appellate Jurisdiction, filed 01/11/2017 [ada].&nbsp; Application for Writ of Certiorari, filed 03/13/2017.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 04/27/2017 [ada].&nbsp;S.Ct. Opinion, filed 08/30/2017 [ada],&nbsp;140 Haw. 482.&nbsp;&nbsp;ICA s.d.o., filed 02/25/2019 [ada], 144 Haw. 62.&nbsp;&nbsp;Application for Writ of Certiorari, filed 05/28/2019.&nbsp;S.Ct. Order Rejecting Application for Writ of Certiorari, filed 07/09/2019.

							Circuit Court, 1st Circuit
							
						
												
							July 9, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							HSBC Bank USA v. Marcantonio (Order Dismissing Application for Writ of Certiorari).&nbsp;ICA&nbsp;s.d.o., filed 12/28/2018 [ada], 143 Haw. 525. Application for Writ of Certiorari, filed 03/25/2019.&nbsp;S.Ct.&nbsp;Order Accepting Application for Writ of Certiorari, filed 05/06/2019 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							July 9, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Nicol (Order Rejecting Application for Writ of Certiorari).&nbsp;ICA Order Dismissing the Appeal for Lack of Appellate Jurisdiction, filed 01/11/2017 [ada].&nbsp; Application for Writ of Certiorari, filed 03/13/2017.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 04/27/2017 [ada].&nbsp;S.Ct. Opinion, filed 08/30/2017 [ada],&nbsp;140 Haw. 482.&nbsp;&nbsp;ICA s.d.o., filed 02/25/2019 [ada], 144 Haw. 62.&nbsp;&nbsp;Application for Writ of Certiorari, filed 05/28/2019.&nbsp; &nbsp;S.Ct.&nbsp;Amended Order Rejecting Application for Writ of Certiorari, filed 07/09/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							July 9, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Trustees of the Estate of Bernice Pauahi Bishop v. Au (Order Denying Motion for Reconsideration). ICA&nbsp;s.d.o., filed 06/28/2019 [ada].&nbsp;Motion for Reconsideration, filed 07/04/2019.

							Circuit Court, 1st Circuit
							
						
												
							July 8, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Ernes (Order Accepting Application for&nbsp;Writ of Certiorari). ICA s.d.o., filed 02/07/2019 [ada], 144 Haw. 60. Application for&nbsp;Writ of Certiorari, filed 05/28/2019.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							July 5, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Skahan v. Stutts Construction Company, Inc. (Order Denying June 29, 2019 HRAP Rule 40 Motion for Reconsideration of June 28, 2019 Order Dismissing Appeal). ICA&nbsp;Order Dismissing Appeal, filed 06/28/2019 [ada].&nbsp;Motion for Reconsideration, filed 06/29/2019.

							Labor and Industrial Relations Appeals Board
							
						
												
							July 5, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Smith v. Hawaii Behavioral Health, LLC (Order Approving Stipulation to Dismiss Appeal).

							Labor and Industrial Relations Appeals Board
							
						
												
							July 5, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							In re&nbsp;BCI Coca-Cola Bottling Company of Los Angeles, Inc. v. Murakami (Order of Correction).&nbsp;ICA mem. op., filed 09/28/2018 [ada], 143 Haw. 235. Motion for Reconsideration, filed 10/08/2018.&nbsp;ICA Order Denying Motion for Reconsideration, filed 10/30/2018 [ada].&nbsp;Application for&nbsp;Writ of Certiorari, filed 12/21/2018.&nbsp;S.Ct.&nbsp;Order Accepting Application for&nbsp;Writ of Certiorari, filed 01/31/2019 [ada].&nbsp;S.Ct. Opinion, filed 06/10/2019 [ada].&nbsp;Motion for&nbsp;Reconsideration, filed 06/28/2019.&nbsp;S.Ct.&nbsp;Order Denying Motion for&nbsp;Reconsideration, filed 07/03/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							July 5, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Carmichael v. Board of Land and Natural Resources (Order Denying Motion for Reconsideration). ICA mem. op., filed 06/18/2019 [ada].&nbsp;Motion for Reconsideration, filed 06/28/2019.

							Circuit Court, 1st Circuit
							
						
												
							July 3, 2019
							S.Ct
							SCAD-XX-XXXXXXX [ADA]
							Office of Disciplinary Counsel v. Kealoha (Order Granting Petition).

							Original Proceeding
							
						
												
							July 3, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							In re&nbsp;BCI Coca-Cola Bottling Company of Los Angeles, Inc. v. Murakami (Order Denying Motion for&nbsp;Reconsideration).&nbsp;ICA mem. op., filed 09/28/2018 [ada], 143 Haw. 235. Motion for Reconsideration, filed 10/08/2018.&nbsp;ICA Order Denying Motion for Reconsideration, filed 10/30/2018 [ada].&nbsp;Application for&nbsp;Writ of Certiorari, filed 12/21/2018.&nbsp;S.Ct.&nbsp;Order Accepting Application for&nbsp;Writ of Certiorari, filed 01/31/2019 [ada].&nbsp;S.Ct. Opinion, filed 06/10/2019 [ada].&nbsp;Motion for&nbsp;Reconsideration, filed 06/28/2019.&nbsp;S.Ct.&nbsp;Order of Correction, filed 07/05/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							July 3, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Young (s.d.o., vacated and remanded). Dissent [ada].&nbsp;ICA&nbsp;s.d.o., filed 05/31/2018 [ada], 142 Haw. 358.&nbsp;Application for&nbsp;Writ of Certiorari, filed 10/10/2018.&nbsp;S.Ct.&nbsp;Order Accepting&nbsp;Application for&nbsp;Writ of Certiorari, filed 11/23/2018 [ada].

							Circuit Court, 1st Circuit
							
						
												
							July 2, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Young v. Nakamoto (Order Denying “Notice of Appeal to the State of Hawaii Supreme Court from Orders 5/8/2019 in the Circuit Court of the Third Circuit Pursuant to HRAP Rules 3(a)(1)(5), 21(a)(i)(ii)(iii), 24(b), &amp; HRCP Rule 60(b)(3)”). Writs of Mandamus &amp; Prohibition, filed 06/20/2019.

							Original Proceeding
							
						
												
							July 1, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Wells Fargo Bank v. Detol (Order Rejecting Application for&nbsp;Writ of Certiorari). ICA s.d.o., filed 02/08/2019 [ada], 144 Haw. 60.&nbsp;Application for&nbsp;Writ of Certiorari, filed 05/06/2019.

							Circuit Court, 1st Circuit
							
						
												
							July 1, 2019
							S.Ct
							SCPR-XX-XXXXXXX [ADA]
							In re Madden (Order Granting Petition to Resign and Surrender License).

							Original Proceeding
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Ciber Inc. v. State (Order Approving Stipulation to Dismiss Appeal).

							Circuit Court, 1st Circuit
							
						
												
							June 28, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							In re AB (Order).&nbsp;ICA s.d.o., filed 11/30/2018 [ada], 143 Haw. 332. Motion for Reconsideration, filed 12/07/2018.&nbsp;ICA Order Denying Motion for Reconsideration, filed 12/12/2018 [ada]. Application for Writ of Certiorari, filed 03/31/2019.&nbsp;S.Ct.&nbsp;Order Accepting Application for&nbsp; Writ of Certiorari, filed 05/23/2019 [ada].

							Family Court, 3rd Circuit
							
						
												
							June 28, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Weldon.&nbsp;&nbsp;ICA&nbsp;mem. op., filed 04/25/2018 [ada],&nbsp;142 Haw. 212.&nbsp; Application for&nbsp;Writ of Certiorari, filed 07/25/2018.&nbsp;&nbsp;S.Ct.&nbsp;Order Accepting Application for&nbsp;Writ of Certiorari, filed 08/28/2018 [ada].

							Circuit Court, 1st Circuit
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Prado (s.d.o., vacated and remanded). Dissenting Opinion by Ginoza, C.J. [ada].

							District Court, 3rd Circuit, North and South Hilo Division
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Citibank v. Gaspar (s.d.o., vacated and remanded).

							Circuit Court, 3rd Circuit
							
						
												
							June 28, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Chang. Opinion of the Court by Pollack, J. [ada]. Dissenting Opinion by Recktenwald, C.J., in which Nakayama, J. joins [ada]. ICA&nbsp;s.d.o., filed 06/29/2018 [ada],&nbsp;142 Haw. 489.&nbsp;Application for Writ of&nbsp;Certiorari, filed 11/29/2018.&nbsp;S.Ct.&nbsp;Order Accepting Application for Writ of&nbsp;Certiorari, filed 01/11/2019 [ada].

							District Court, 1st Circuit
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Kaʻu Sunshine LLC v. Unknown Heirs or Assigns of Kanakalauai (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Circuit Court, 3rd Circuit
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Ciber Inc. v. State (Order Approving Stipulation to Dismiss Appeal).

							Circuit Court, 1st Circuit
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Ciber Inc. v. State (Order Approving Stipulation to Dismiss Appeal).

							Circuit Court, 1st Circuit
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Gouveia (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Circuit Court, 1st Circuit
							
						
												
							June 28, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Abrigo.&nbsp;Concurring in the Judgment, and Dissenting Opinion by Recktenwald, C.J., in which Nakayama, J. joins [ada].&nbsp;ICA&nbsp;s.d.o., filed 06/25/2018 [ada],&nbsp;142 Haw. 462.&nbsp;Application for&nbsp;Writ of Certiorari, filed 09/04/2018.&nbsp;S.Ct.&nbsp;Order Accepting&nbsp;Application for&nbsp;Writ of Certiorari, filed 10/17/2018 [ada].

							District Court, 1st Circuit, Honolulu Division
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Trustees of the Estate of Bernice Pauahi Bishop v. Au (s.d.o., affirmed).&nbsp;Motion for Reconsideration, filed 07/04/2019. ICA&nbsp;Order Denying Motion for Reconsideration, filed 07/09/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re Hart (Order Granting Motion to Dismiss Appeal).

							Circuit Court, 1st Circuit
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Kaehu (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Bossart v. JPMorgan Chase Bank, N.A. (Order Approving Stipulation to Dismiss Appeal).

							Circuit Court, 5th Circuit
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Skahan v. Stutts Construction Company, Inc. (Order Dismissing Appeal).&nbsp;Motion for Reconsideration, filed 06/29/2019. ICA&nbsp;Order Denying June 29, 2019 HRAP Rule 40 Motion for Reconsideration of June 28, 2019 Order Dismissing Appeal, filed 07/05/2019 [ada].

							Labor and Industrial Relations Appeals Board
							
						
												
							June 28, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Matuu.&nbsp;ICA&nbsp;s.d.o., filed 09/29/2017 [ada],&nbsp;141 Haw. 127.&nbsp;Application for&nbsp;Writ of Certiorari, filed 01/16/2018.&nbsp;S.Ct. Order Accepting Application for&nbsp;Writ of Certiorari, filed 02/27/2018 [ada].

							Circuit Court, 1st Circuit
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Wright v.&nbsp;Miyake Concrete Accessories, Inc. (s.d.o., dismissed and affirmed). Consolidated with Case Nos. CAAP-XX-XXXXXXX and CAAP-XX-XXXXXXX.&nbsp;Application for Writ of Certiorari, filed 12/18/2017. S.Ct.&nbsp;Order Dismissing Application for Writ of Certiorari, filed 12/29/2017 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							First Hawaiian Bank v. Horner (s.d.o., affirmed).&nbsp;Motion for Reconsideration, filed 07/08/2019.

							Circuit Court, 1st Circuit
							
						
												
							June 28, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Wells Fargo Bank, N.A. v. Pierce (s.d.o., vacated and remanded).

							Circuit Court, 5th Circuit
							
						
												
							June 27, 2019
							S.Ct
							SCAP-XX-XXXXXXX [ADA]
							Civil Beat Law Center for the Public Interest, Inc. v. City and County of Honolulu (Amended Opinion of the Court by Recktenwald, C.J.).&nbsp;S.Ct. Opinion, filed 06/26/2019.

							Circuit Court, 1st Circuit
							
						
												
							June 27, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Wilborn (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Circuit Court, 1st Circuit
							
						
												
							June 27, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Victoria Ward Center, L.L.C. v. Gold Guys Holdings, LLC (mem. op., affirmed, vacated, and remanded). Consolidated with Case Nos. CAAP-XX-XXXXXXX and CAAP-XX-XXXXXXX.

							Circuit Court, 1st Circuit
							
						
												
							June 27, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Libero v. State (s.d.o., affirmed).

							Circuit Court, 2nd Circuit
							
						
												
							June 27, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Bright (s.d.o., affirmed).

							Family Court, 5th Circuit
							
						
												
							June 27, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Jones (mem. op., affirmed, vacated, and remanded). Consolidated with Case No. CAAP-XX-XXXXXXX.

							Circuit Court, 1st Circuit
							
						
												
							June 27, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Phan (s.d.o., affirmed).

							Family Court, 2nd Circuit
							
						
												
							June 26, 2019
							S.Ct
							SCAD-XX-XXXXXXX [ADA]
							Office of Disciplinary Counsel v. Richards (Order of Disbarment). S.Ct.&nbsp;Order Granting Petition, filed 01/18/2018 [ada].

							Original Proceeding
							
						
												
							June 26, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Glenn (Order Accepting Application for Writ of Certiorari). ICA&nbsp;s.d.o., filed 02/21/2019 [ada], 144 Haw. 62.&nbsp;Application for Writ of Certiorari, filed 05/21/2019.

							Circuit Court, 1st Circuit
							
						
												
							June 26, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Grandinetti v. State (Order). Petition for Writ of Mandamus, filed 06/12/2019.

							Original Proceeding
							
						
											
				
			
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